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1    ANTHONY P. BROOKLIER, SBN 50198
     MARKS & BROOKLIER
2    10100 Santa Monica Blvd.
     Suite 300
3    Los Angeles, CA 90067
     Telephone: (310) 772-2287
4    Facsimile: (310) 772-2286
5    Attorney for Defendant
     LUIS ARMANDO PENATE
6
7
8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )      CASE NO. CR S-03-64-WBS
                                       )
12                   Plaintiff,        )
                                       )      ORDER TO EXONERATE BOND
13        v.                           )
                                       )
14   LUIS ARMANDO PENATE,              )
                                       )
15                   Defendant.        )
                                       )
16
17                                         ORDER
18        GOOD CAUSE HAVING BEEN SHOWN, IT IS SO FOUND AND ORDERED that
19   the Defendant, LUIS ARMANDO PENATE’s ex parte application for order
20   to exonerate bond is GRANTED.
21   Dated: August 17, 2005
22
23
24
25
     Presented by:
26
27
     ANTHONY P. BROOKLIER
28   Attorney for Defendant
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1    LUIS ARMANDO PENATE
                                  PROOF OF SERVICE
2
     STATE OF CALIFORNIA      )
3
     COUNTY OF LOS ANGELES )
4
          I am employed in the County of Los Angeles, State of
5    California; I am over the age of 18 and not a party to the within
     action; my business address is 10100 Santa Monica Blvd., Suite
6    1200, Los Angeles, California 90067.
7         On August 16, 2005, I served the foregoing document described
     as [PROPOSED] ORDER TO EXONERATE BOND on all parties in this action
8    by placing the true copies thereof enclosed in a sealed envelope
     addressed as stated on the attached mailing list.
9
     _____BY MAIL
10        I deposited such envelope in the mail at Los Angeles,
     California. The envelope was mailed with postage thereon fully
11   prepaid. I am “readily familiar” with the firm’s practice of
     collection and processing correspondence for mailing. Under that
12   practice it would be deposited with the United States Postal
     Service on that same day with postage thereon fully paid at Los
13   Angeles, California in the ordinary course of business. I am aware
     that on motion of the party   served, service is presumed invalid
14   if postal cancellation date or postage meter date is more than one
     day after date of deposit for mailing in affidavit.
15
     _____BY PERSONAL SERVICE
16        I caused such envelope to be delivered by hand to the offices
     of the addressee.
17
     _____BY FAX
18        I caused such document to be transmitted via fax to the
     offices of the addressee.
19
     _____STATE     I declare, under penalty of perjury, under the laws
20   of the State of California that the above is true and correct.
21   _____FEDERAL   I declare that I am employed in the office of a
     member of the bar of this court at whose direction the service was
22   made.
23        EXECUTED on August 16, 2005, at Los Angeles, California.
24
25
                                          _______________________________
26                                        HAROLD E. FRAZIER, JR.
27
28

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1
                              LIST OF PARTIES SERVED
2
3
     Daniel S. Linhardt
4    Assistant U.S. Attorney
     United States Attorney’s Office
5    501 “I” Street
     Sacramento, CA 95814
6    Telephone: (916) 554-2770
     Facsimile: (916) 554-2900
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